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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

       ELIJAH CARIMBOCAS, LINDA
       DLHOPOLSKY, AND MORGAN GRANT, on
       behalf of themselves and others similarly
       situated,

                            Plaintiffs,
             v.                                             Civil Action No. 1:22-cv-02188-CNS-STV

       TTEC SERVICES CORPORATION, TTEC
       SERVICES CORPORATION EMPLOYEE
       BENEFITS COMMITTEE, EDWARD
       BALDWIN, K. TODD BAXTER, PAUL
       MILLER, REGINA PAOLILLO, EMILY
       PASTORIUS, JOHN AND JANE DOES 1-20,

                            Defendants.




                                          SCHEDULING ORDER1

                                           1. DATE OF
                                          CONFERENCE
                                  AND APPEARANCES OF COUNSEL

            Counsel for the Parties met and conferred regarding this Scheduling Order via telephone

   on October 10, 2022. The following counsel of record participated in this conference:




   1 Recognizing that the Court’s August 26, 2022 Order stated the Parties should use the “ERISA Action”
   template for the scheduling order, the Parties respectfully submit this Proposed Scheduling Order using
   the “Proposed Scheduling Order and Instructions” form. ECF No. 5. The Parties believe this form better
   addresses the scheduling needs in a putative class action case like this one, whereas the “ERISA Action”
   is better suited for an individual denial-of-benefits case.
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          Defendants’ Counsel:   Deborah S. Davidson (she/her/hers)
                                 Matthew A. Russell (he/him/his)
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                                         2. STATEMENT OF
                                           JURISDICTION

           The Court has jurisdiction pursuant to 28 U.S.C. § 1331, as Plaintiffs’ claims are

    brought under the Employee Retirement Income Security Act of 1974 (“ERISA”), a federal

    statute. The Court also has jurisdiction pursuant to 29 U.S.C. § 1132(e)(1).

                                 3. STATEMENT OF CLAIMS AND
                                          DEFENSES

          a.     Plaintiffs: Plaintiffs are participants in the TTEC 401(k) Profit Sharing

   (the “Plan”). Plaintiffs allege that Defendants breached the fiduciary duties they owed to

   the Plan, to Plaintiffs, and to other Plan participants under the Employee Retirement

   Income Security Act (“ERISA”) by mismanaging the Plan’s recordkeeping fees and

   investment options—causing millions of dollars in damages to Plan participants.

   Specifically, Plaintiff allege that that Defendants: (1) failed to prudently monitor,

   regularly benchmark, and prudently negotiate the Plan’s recordkeeping fees (see ECF

   1, ¶¶ 41-62); (2) allowed a service provider, T. Rowe Price, to include proprietary

   investments in the Plan that had historically underperformed the replaced fund and

   continued to do so subsequently, and/or were more expensive investments (id., ¶¶ 63-

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   65); (3) failed to prudently consider alternatives to mutual funds in the Plan, despite the

   alternatives’ lower fees (id., ¶¶ 66-74); (4) admitted to have only “periodically” reviewed

   the Plan’s investment options to ensure they were suitable for Plan participants—in

   dereliction of their duty to continually monitor each investment offering (id., ¶¶ 75-85);

   (5) administered the Plan during the Class Period without crucial protocol—namely, an

   investment policy statement—to monitor the Plan investment menu (id., ¶¶ 83-84); and

   (6) failed to timely include target retirement date funds in the Plan’s investment menu

   (id., ¶¶ 85-87).

          Plaintiffs are considering whether to file an amended complaint pursuant to Rule

   15(a)(1)(B). Plaintiffs decline to address the premature and incorrect arguments in

   Defendants’ motion to dismiss in this proposed scheduling order, but they note that the

   overwhelming majority of courts routinely reject identical arguments in similar ERISA

   litigation. See, e.g., Jacklyn Wille, Flood of 401(k) Fee Lawsuits Spur Wave of Early

   Plaintiff Wins, Bloomberg Law (Apr. 5, 2022) (reporting that over 80% of such motions

   to dismiss fail), available at https://news.bloomberglaw.com/employee-benefits/flood-of-

   401k-fee-lawsuits-spur-wave-of-early-plaintiff-wins.

          b.     Defendants: Defendants incorporate by reference their position as

   detailed in their Motion to Dismiss the Complaint, filed on April 11, 2023 (ECF No. 29).

   As discussed therein, Plaintiffs’ allegations that Defendants breached their fiduciary

   duty to monitor the Plan’s recordkeeping fees and investment lineup fail as a matter of

   law. A breach-of-fiduciary-duty claim under ERISA is a process-based claim, and since

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   the Complaint lacks allegations about Defendants’ fiduciary process, Plaintiffs can state

   a viable claim only by pleading sufficient facts to create a plausible inference that

   Defendants failed to monitor the Plan’s recordkeeping fees and investment lineup. As to

   recordkeeping, Plaintiffs’ allegations that Defendants lowered recordkeeping fees and

   changed recordkeepers (which happened through a request for proposal) foreclose any

   inference of imprudence. In addition, Plaintiffs failed to allege a “meaningful

   benchmark” to show that the Plan overpaid for recordkeeping, as required to state a

   viable claim. As to the Plan’s investments, Plaintiffs have likewise failed to plead a

   meaningful benchmark that any investments were too expensive or underperformed.

   Plaintiffs’ allegations that Defendants made changes to the Plan investment lineup,

   added target-date funds as investment choices, and worked with an independent

   investment consultant to create an Investment Policy Statement foreclose any inference

   that Defendants were not monitoring the Plan’s investments. Since Plaintiffs’ claim of

   imprudence fail as a matter of law (Count I), so too does their derivative duty-to-monitor

   claim (Count II).

          Courts in the Tenth Circuit regularly dismiss claims similar to those alleged in the

   Complaint. See, e.g., Jones v. Dish Network Corp., Case No. 22-cv-00167, Dkt. 72 (D.

   Colo. Jan. 31, 2023), R & R adopted, 2023 WL 2644081, at *6-7 (D. Colo. Mar. 27,

   2023); Birse v. CenturyLink, Inc., 2019 WL 1292861, at *3 (D. Colo. Mar. 20, 2019);

   Kurtz v. Vail Corp., 511 F. Supp. 3d 1185, 1196-97 (D. Colo. 2021); Matney v. Barrick

   Gold of N.A., Inc., 2:20-CV-275-TC-CMR, 2022 WL 1186532, at *4 (D. Utah Apr. 21,

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   2022), appeal filed, No. 22-4045 (10th Cir. May 20, 2022) (10th Cir.).

          To the extent Plaintiffs’ allegations state a claim, discovery will indisputably show

   that Defendants have acted consistently with any and all fiduciary duties they owed

   under ERISA during the period relevant to Plaintiffs’ claims.

           c.    Other Parties: N/A

                                        4. UNDISPUTED
                                            FACTS

          The following facts are undisputed. The parties anticipate that additional

   undisputed facts exist, and that they will be able to stipulate to such facts through

   further discussion.

          1.     Plaintiffs are former TTEC employees who participated in the TTEC 401(k)

                 Profit Sharing Plan (the “Plan”).

          2.     TTEC sponsors and administers the Plan for eligible retirees.

          3.     The Plan is a “defined contribution” or an eligible “individual account” plan

                 within the meaning of 29 U.S.C. § 1002(34).

          4.     The Plan is a 401(k) plan under the Internal Revenue Code.

          5.     TTEC has a fiduciary committee (“the Committee”) that was responsible for

                 selecting, monitoring, and overseeing the Plan’s investment lineup and

                 recordkeeping fees.

          6.     The funds challenged in the Complaint, including the T. Rowe Price

                 Overseas Stock Fund and the T. Rowe Price Growth Stock Fund, were

                 included in the Plan during portions of the alleged class period.
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          7.     From January 1, 2012 to December 31, 2019, Merrill Lynch was the Plan’s

                 recordkeeper and trustee.

          8.     Effective January 1, 2020, the Committee replaced Merrill Lynch with T.

                 Rowe Price as the Plan’s recordkeeper and trustee.

                                      5. COMPUTATION OF
                                           DAMAGES

          Plaintiffs’ statement:

          Defendants, as breaching fiduciaries, are obligated to make good to the Plan all

   losses resulting from Defendants’ breach, and are subject to full equitable relief. 29

   U.S.C. §1109(a). Plaintiffs seek recovery of (1) the excessive recordkeeping and

   administrative fees paid by the Plan and (2) the losses caused by Defendants’

   imprudent and disloyal selection and retention of Plan investments. Discovery and

   expert analysis are necessary for the complete determination of such damages. The

   liability period is at least six years. See 29 U.S.C. §1113. Defendants also will be

   liable for Plaintiffs’ attorney fees and costs under 29 U.S.C. §1132(g)(1). Plaintiffs seek

   appropriate equitable relief, including without limitation, putting Plan administrative

   services out for competitive bidding, removal of fiduciaries who have breached their

   duties, and replacement of imprudent and disloyal investments.


          Defendants’ Statement:

          Defendants have not asserted any counterclaims in this Action, and therefore,

   are not currently seeking any damages in this Action. If a judgment is entered in


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   Defendants’ favor, Defendants reserve the right to seek any and all available costs and

   fees, as permitted under ERISA, the Federal Rules of Civil Procedure, or any other

   statute that may authorize an award of fees or costs under the circumstances.

   Defendants dispute that Plaintiffs, as former Plan participants, have standing to seek

   forward-looking injunctive relief.

                        6. REPORT OF PRECONFERENCE DISCOVERY
                           AND MEETING UNDER FED. R. CIV. P. 26(f)

          a.      Date of Rule 26(f) meeting. October 10, 2022.

          b.      Names of each participant and party he/she represented.

          The following counsel of record participated in these conferences:

            Plaintiffs’ Counsel:        Douglas M. Werman
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          c.      Statement as to when Rule 26(a)(1) disclosures were made or will be made.

          The Parties agree to provide Rule 26(a)(1) disclosures within 45 days after a ruling on

   Defendants’ motion to dismiss, if the Court denies that motion.

          d.      Proposed changes, if any, in timing or requirement of disclosures under
                  Fed. R. Civ. P. 26(a)(1).

          N/A

          e.      Statement concerning any agreements to conduct informal discovery:

          Before Plaintiffs filed this action, TTEC produced the following documents:

          1.      The operative Plan Document and amendments since 2016;

          2.      The trust agreements for the Plan since 2016;

          3.      Summary Plan Descriptions since 2016;

          4.      Participant disclosures pursuant to 29 C.F.R. § 2550.404a-5, 2016-2021;
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         5.      Provider fee disclosures pursuant to 29 C.F.R. § 2550.408b-2, 2016-2022;

         6.      The Plan’s Form 5500 Annual Return/Reports, 2016-2020;

         7.      The Plan’s recordkeeping service agreements and amendments; and

         8.      Certain communications to Plan participants since 2016.

         Plaintiffs propose that further discovery should proceed without limitation. In light

  of Defendants’ production to date, Defendants propose that all other discovery in this

  case—in particular ESI productions and depositions—be stayed until after the Court’s

  ruling on Defendants’ anticipated motion to dismiss the Complaint, if the Court denies

  that motion.

         As a compromise, the parties jointly agree that discovery shall proceed with

  regard to:

         9.      The identity of all Committee members during the alleged class period;

         10.     Meeting agendas, minutes, and materials presented or provided at or in in

                 advance of Committee meetings; and

         11.     Plan holdings/balances and fee information needed for calculating any

                 alleged damages suffered by the Plan during the alleged class period.

  The parties agree that discovery on all other topics may be stayed pending a ruling on

  Defendants’ anticipated motion to dismiss.

         f.      Statement concerning any other agreements or procedures to reduce
                 discovery and other litigation costs, including the use of a unified exhibit
                 numbering system.

         The Parties agree to work cooperatively to reduce the costs of litigation and expedite the

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  just disposition of this case. For example, the Parties have already engaged in substantial

  informal discovery, resulting in the production of hundreds of pages of documents. See supra

  Section 8(e). The Parties likewise agree to work cooperatively, if necessary, to jointly seek any

  necessary extensions to the proposed discovery timeline set forth below. The parties will use a

  unified sequential numbering system, using numbers, not letters, for all deposition exhibits

         g.      Statement as to whether the parties anticipate that their claims or defenses
                 will involve extensive electronically stored information, or that a
                 substantial amount of disclosure or discovery will involve information or
                 records maintained in electronic form.

         If the Court denies Defendants’ motion to dismiss, collection and review of

  electronically stored information (“ESI”) and/or information maintained in electronic form

  will be necessary. Defendants represented to Plaintiffs that they have taken appropriate

  steps to preserve and maintain potentially relevant ESI.

         The Parties agree to work cooperatively to facilitate the discovery of ESI, to limit

  the costs of any such discovery, and to work cooperatively to resolve discovery

  disputes, if any, relating to electronic discovery. To that end, the parties have agreed to

  follow the Court’s Checklist for Rule 26(f) Meet-and-Confer Regarding Electronically

  Stored Information and anticipate entering into an ESI Protocol.

         h.      Statement summarizing the parties’ discussions regarding the
                 possibilities for promptly settling or resolving the case.

         The Parties participated in mediation before a private mediator on March 21, 2023. That

  mediation session was unsuccessful.




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                                            7. CONSENT

         All parties have not consented to the exercise of jurisdiction of a magistrate judge.

                                 8. DISCOVERY LIMITATIONS

         a.     Modifications which any party proposes to the presumptive
                numbers of depositions or interrogatories contained in the Federal
                Rules.

         N/A

         b.     Limitations which any party proposes on the length of depositions.

         N/A

         c.     Limitations which any party proposes on the number of requests for
                production and/or requests for admission.

         25 RFP's and 25 RFA's

         d.     Deadline for service of Interrogatories, Requests for Production of
                Documents and/or Admissions:

         The Parties propose that any interrogatories, requests for production of

  documents and/or admissions (excluding any requests for admission seeking to

  authenticate a document) be served no later than 45 days before the close of Fact

  Discovery.

         e.     Other Planning or Discovery Orders

         The Parties anticipate entering into a Protective Order governing the

  confidentiality of produced documents before the further production of any documents in

  this case.

                                 9. CASE PLAN AND SCHEDULE

         a.     Deadline for Joinder of Parties and Amendment of Pleadings:
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         Within 90 days after the Court rules on Defendants’ motion to dismiss if the Court denies

  such motion.

         b.      Fact Discovery Cut-off: 365 days after the Court rules on Defendants’
                 motion to dismiss, if the Court denies that motion.

         c.      Dispositive Motion Deadline: 30 days after close of Expert
                 Discovery.

         d.      Expert Witness Disclosure

         1.      The parties shall identify anticipated fields of expert testimony, if any.

         Plaintiffs anticipate expert testimony on liability, including testimony related to

  finance, investment management, 401(k) administration, and/or fiduciary practices, and

  on damages.

         Should Plaintiffs’ claims proceed to expert discovery, Defendants currently

  anticipate offering expert testimony/rebuttal testimony concerning the monitoring of Plan

  recordkeeping and investments fees, the investment lineup, and investment

  performance, as well as regarding alleged damages (or the lack thereof).

        2.       Limitations which the parties propose on the use or number of expert
  witnesses.

                         N/A

        3.      Plaintiffs shall designate all experts and provide opposing counsel and
  any pro se parties with all information specified in Fed. R. Civ. P. 26(a)(2) no later than
  30 days after the close of Fact Discovery.

          4.    Defendants shall designate all rebuttal or other experts and provide
  opposing counsel and any pro se party with all information specified in Fed. R. Civ. P.
  26(a)(2) within 60 days after Plaintiffs’ expert disclosures, as provided in Section
  9(d)(3).

         5.      Discovery and depositions of any expert witnesses (“Expert
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  Discovery”) shall be completed within 60 days after Defendants’ disclosure of
  expert witnesses, as provided in Section 9(d)(4).

         e.     Identification of Persons to Be Deposed:

         The Parties have not yet identified the specific individuals they will need to

  depose. The Parties anticipate that depositions of the Named Plaintiffs, Committee

  members, certain employees of TTEC, and certain third-party witnesses may be

  necessary. Likewise, the Parties anticipate needing to depose any expert witnesses.

         f.     Deadline to File Motion for Class Certification:

         Plaintiffs shall file a motion for class certification by no later than 270 days after the Court

  rules on Defendants’ motion to dismiss, if the Court denies such motion.

                            10. DATES FOR FURTHER CONFERENCES

         [The magistrate judge will complete this section at the scheduling conference if he or
   she has not already set deadlines by an order filed before the conference.]

  a.     Status conferences will be held in this case at the following dates and times:
               September 21, 2023, at 9:00 a.m.                                                   .

  b.     A final pretrial conference will be held in this case on ____________at o’clock
         _____m. A Final Pretrial Order shall be prepared by the parties and submitted to
         the court no later than seven (7) days before the final pretrial conference.

                                11. OTHER SCHEDULING MATTERS

  a.     Identify those discovery or scheduling issues, if any, on which counsel after a
         good faith effort, were unable to reach an agreement.

         N/A

  b.     Anticipated length of trial and whether trial is to the court or jury.

         The Parties anticipate that a bench trial in this matter will last approximately 10-

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  15 Court days.

  c.      Identify pretrial proceedings, if any, that the parties believe may be more
          efficiently or economically conducted in the District Court’s facilities at 212 N.
          Wahsatch Street, Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S.
          Courthouse/Federal Building, 402 Rood Avenue, Grand Junction, Colorado
          81501-2520; or the U.S. Courthouse/Federal Building, La Plata County Courthouse
          1060 E. 2nd Avenue, Suite 150, Durango, Colorado 81301.

          N/A

                       12. NOTICE TO COUNSEL AND PRO SE PARTIES

          The parties filing motions for extension of time or continuances must comply with

  D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving

  attorney's client.

          Counsel will be expected to be familiar and to comply with the Pretrial and Trial

  Procedures or Practice Standards established by the judicial officer presiding over the trial of this

  case.

          With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1(a).

          Counsel and unrepresented parties are reminded that any change of contact

  information must be reported and filed with the Court pursuant to the applicable local

  rule.

                          13. AMENDMENTS TO SCHEDULING ORDER

          The Parties agree that, subject to the Court’s approval, this Scheduling Order may be

  amended and/or modified upon a showing of good cause.


                                              April
   DATED at Denver, Colorado, this 26thday of                      , 20 23.


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                                            BY THE COURT:


                                            United States Magistrate Judge
   APPROVED:

  By: April 19, 2023____________        By: /s/ Douglas M. Werman

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  By: April 19, 2023____________        By: /s/ Deborah S. Davidson


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